USCA Case #23-31 Unite Sates CdURT oF APPEAL SOO*3 Page 1 of 1

DISTRICT OF COLUMBIA CIRCUIT

333 Constitution Avenue, NW
Washington, DC 20001-2866
Phone: 202-216-7000 | Facsimile: 202-219-8530

Case Caption: United States

Vv. Case No: 23-3190

Donald J. Trump

ENTRY OF APPEARANCE
The Clerk shall enter my appearance as @ Retained © Pro Bono © Appointed (CJUA/FPD) © Gov't counsel
for the @ Appellant(s)/Petitioner(s) © Appellee(s)/Respondent(s) © Intervenor(s) © Amicus Curiae below:

Party Information
(List each represented party individually - Use an additional blank sheet as necessary)

Donald J. Trump (Appellant)

Counsel Information

Lead Counsel: Dean John Sauer

Direct Phone: (314) 562-0031 Fax: ( ) Email: john.sauer@james-otis.com

2nd Counsel:

Direct Phone: (____) - Fax: (_) Email:
3rd Counsel:

Direct Phone: (____) - Fax: (_) Email:

Firm Name: James Otis Law Group, LLC

Firm Address: 13321 North Outer Forty Road, Suite 300, Chesterfield, Missouri 63017

Firm Phone: (314) 562-0031 Fax: (___) Email:

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for

admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
